Case 4:20-cv-00068-RWS-CMC Document 99-1 Filed 06/23/20 Page 1 of 2 PageID #: 2521


  From: Kozen , Geoffrey H. GKozen@RobinsKaplan .com
Subject:RE: Re: [EXTERNAL] Lozada-Leoni
   Date:June 21, 2020 at 6:23 PM
     To:Julie Kristi Jones jk@hsjustice com, Barcus, John M . john .barcus@ogletree .com, Eisenstat , Gary D.
        gary.eisenstat@ogletreedeakins .com, ddoan@haltomdoan.com, rroeser@haltomdoan .com
    Cc: Susan Hutchison hutch@hsjustice .com, Rafe Foreman srforeman@hsjustice .com, MacKenzie Long Mlong@hsjust ice.com


       Counsel,

       Ms. Johnson informed me this afternoon that someone she was recently in contact with has
       t ested positive for COVID-19. As a result, she will be under quarantine for 14 days. Because I w ill
       not be able to effectively prepar e her for her depo sition or defend her deposition while remote
       from her, I reque st that you agree to postpone her deposition for at least 14 days. Ms. Johnson
       schedu le in early July is very fle xible , and so I am confi dent we w ill be able to find an alternative
       date.

       Thank you. I appreciate your fle xibility in this diffi cult time.

       Best ,
       Geoff Kozen

       Geoffrey Kozen
       612 349 0827

       From: Julie Kristi Jones <jk@hsjustice.com>
      Sent: Friday, June 5, 2020 3:35 PM
      To: Barcus, John M . <john.barcus@ogletree.com>;Eisenstat, Gary D.
      <gary.eisenstat@ogletreedeakins.com>; ddoan@haltomdoan.com; rroeser@haltomdoan .com
      Cc: Susan Hutchison <hutch@hsjustice.com>; Rafe Foreman <srforeman@hsjustice.com>;
      MacKenzie Long <Mlong@hsjustice.com>; Kozen, Geoffrey H.< GKozen@RobinsKaplan.com>
      Subject: [EXTERNAL] Re: Lozada-Leoni




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      contained in this communication (including any attachment s) is not intended to be used, and cannot be
      used, for purposes of (i) avoiding penalties imposed under the U.S. Internal Revenue Code or (ii)
      promoting , marketing or recommending to another person any tax-related matter.

      Thank you in advance for your cooperation.

       Robins Kaplan LLP


                                                                                                              Exhibit 1
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                           ska12lan.co111




                                                                       Exhibit 1
